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 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT TACOMA

 7      STATE OF WASHINGTON,                                   CASE NO. 3:17-cv-05806-RJB
 8                                  Plaintiff,                 ORDER DENYING MOTION TO
                v.                                             STRIKE GEO’S JURY DEMAND
 9
        THE GEO GROUP, INC.,
10
                                    Defendant.
11

12
            THIS MATTER comes before the Court on the State of Washington’s Motion to Strike
13
     Jury Demand (Dkt. 43). The Court is familiar with the records and files herein and documents
14
     filed in support of and in opposition to the motion. For the reasons stated below, the motion
15
     should be DENIED without prejudice.
16
            The defendant filed a demand for jury trial (Dkt. 8) as follows: “Pursuant to Federal Rule
17
     of Civil Procedure 38(b), the GEO Group, Inc., demands a trial by jury in the above-entitled
18
     action of all issues triable by jury.” The demand did not specify issues that are triable by jury, as
19
     could be done under Federal Rule of Civil Procedure 38(c), nor did the briefing in opposition to
20
     the motion state with specificity the issues triable by a jury.
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            The plaintiff is correct in its statement that federal law controls whether there is a right to
22
     a jury trial. See State’s Reply in Support of State’s Motion to Strike Jury Demand (Dkt. 46 at 1).
23

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     ORDER DENYING MOTION TO STRIKE GEO’S JURY DEMAND - 1
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 1   Nevertheless, state law can be instructive and persuasive in determining procedural questions,

 2   even if it is not binding.

 3           Regardless of the foregoing issues, it appears to the court that this motion is premature.

 4   Exactly what issues will remain as trial nears is yet to be seen. Motion practice may narrow

 5   issues to be tried. It is possible that some jury issues will remain for trial, and some equitable

 6   issues will also remain, making it appropriate to have a split trial, with some issues tried to a jury

 7   and other issues tried to the court. That procedure is not uncommon.

 8           It is also possible that the court would choose to have an advisory jury, pursuant to

 9   Federal Rule of Civil Procedure 39(c). It is simply too early in the case to make final decisions

10   on how the trial should be conducted, or to determine what issues, if any, may remain that are

11   triable by jury.

12           Under these circumstances, it is appropriate for the court to deny the Motion to Strike

13   Jury Demand without prejudice so that the issue can be properly raised and considered when the

14   case is in the trial preparation stage. Therefore, it is now

15           ORDERED that the State’s Motion to Strike GEO’s Jury Demand (Dkt. 43) is DENIED

16   without prejudice.

17           The Clerk is directed to send uncertified copies of this Order to all counsel of record and

18   to any party appearing pro se at said party’s last known address.

19           Dated this 14th day of March, 2018.

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21                                          A
                                            ROBERT J. BRYAN
22
                                            United States District Judge
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     ORDER DENYING MOTION TO STRIKE GEO’S JURY DEMAND - 2
